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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

____________________________________
                                    :
IVAN G. MCKINNEY,                   :                Civil Action No. 15-7442 (KM) (MAH)
                                    :
            Plaintiff,              :
                                    :
      v.                            :                                 ORDER
                                    :
NURSE CUCINELLA, etc., et al.,      :
                                    :
            Defendants.             :
____________________________________:


       This matter having come before the Court by way of a telephone conference call

scheduled for April 9, 2018;

       and for the reasons stated on the record during the telephone call;

       and for good cause shown;

       IT IS on this 9th day of April, 2018,

       ORDERED THAT:

       1. Defendants’ request to take Plaintiff’s deposition is granted.

       2. The parties shall arrange the date and time for the deposition, and provide the Court

           with an appropriate form of order.

       3. By April 21, 2018, Plaintiff shall submit a letter to the Court, indicating what

           additional discovery he needs and a list of items he believes he is still owed by

           Defendants.

       4. By April 30, 2018, Defendants shall file a response to Plaintiff’s letter.

                                               s/Michael A. Hammer_________________
                                               UNITED STATES MAGISTRATE JUDGE
